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                   EXHIBIT A
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                                                                            CLAYTON COUNTY, GA
                                                                            6/15/2022 3:57 PM
                                                                            Jacquline D. Wills
                                                                            CLERK SUPERIOR COURT




                   IN THE SUPERIOR COURT OF CLAYTON COUNTY
                               STATE OF GEORGIA

 NATHANIEL CLARK,                              )
                                               )
                 PLAINTIFF,                    )
                                               )
                                               )
 V.                                            )
                                               )       Civil Action No.:
 CITY OF FOREST PARK, GA;                      )       2021CV03928-14
 LATRESA AKINS-WELLS, in her                   )
 individual capacity                           )
                                               )
                                               )
                 DEFENDANTS.                   )


                             SECOND AMENDED COMPLAINT

       COMES NOW Plaintiff Nathaniel Clark (“Plaintiff” or “Chief Clark”) by and through his

undersigned counsel, files this SECOND AMENDED COMPLAINT against Defendants City of

Forest Park, GA (“the City”) and Latresa Akins-Wells (“Councilwoman Wells”) (collectively

“Defendants”), showing the Court as follows:

                                           PARTIES

       1.      Plaintiff Nathaniel Clark was hired by the City of Forest Park as Police Chief on

May 14, 2019 and remains employed by the City.

       2.      Defendant City of Forest Park, GA has its principal address at 745 Forest Parkway,

Forest Park, GA 30297.

       3.      Defendant Latresa Akins-Wells is a member of the Forest Park City Council. She

is sued in her individual capacity.

                                 JURISDICTION AND VENUE

       4.      Jurisdiction and venue are proper in the Superior Court of Clayton County.


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       5.      The City of Forest Park, GA and Councilwoman Wells are all residents of Clayton

County. All the acts complained herein occurred in Clayton County.

       6.      This action has been brought within the time provided by O.C.G.A. § 45-1-4(e)(1).

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       7.      Plaintiff has satisfied all administrative prerequisites to perfect his claim of

retaliation under Title VII. Specifically, he timely filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”).

       8.      Plaintiff has now received the Notice of Right to Sue for his claims under Title VII

within the last ninety (90) days. See Exhibit A, Notice of Right to Sue.

                            WAIVER OF SOVERIGN IMMUNITY

       9.      The right of action provided for in the Georgia Whistleblower Act, O.C.G.A. § 45-

1-4, is a waiver of the City’s sovereign immunity. See Pattee v. Ga. Ports Auth., 477 F.Supp.2d

1253, 1269 (S.D. Ga. 2006).

       10.     The right of action provided for in Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e et seq. is also a waiver of the City’s sovereign immunity.

       11.     The slanderous statements made by Councilwoman Wells were made outside her

official function, and therefore official immunity does not bar Plaintiff’s slander claim. See Gilbert

v. Richardson, 264 Ga. 744, 452 S.E.2d 476, 483 (1994) (an official function is “any act performed

within the officer's or employee's scope of authority, including both ministerial and discretionary

acts.”). See also O.C.G.A. § 51-1-20.

       12.     As for any acts Councilwoman Wells performed in her official function, an officer

may be personally liable in the performance of a ministerial duty if she acts with negligence, actual


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malice or an intent to injure. An officer may be liable for the performance of a discretionary

function if she acts with actual malice or an intent to injure. Ga. Const. art. 1, § 2, ¶ IX(d); see

O.C.G.A. § 36–33–4.

                                  FACTUAL ALLEGATIONS

         13.   Chief Clark was hired by the City of Forest Park as Police Chief on May 14, 2019.

Chief Clark was the first and only permanent Black individual to be hired as Police Chief by the

City.

         14.   Chief Clark has been in law enforcement for approximately 33 years and was

previously a police chief for a city in Arkansas.

         15.   The former permanent Chief of Police for the City of Forest Park, L. Dwayne

Hobbs, served as Police Chief for over two decades.

         16.   As Chief of Police, Chief Clark is responsible for overseeing the City’s police

department which includes approximately 95 sworn personnel and is responsible for the safety and

protection of the 20,000 civilians residing in the City.

         17.   As Chief of Police, Chief Clark reports to the City Manager who in turn reports to

the Governing Body. The Governing Body is comprised of the Mayor and the five members of

the City Council.

         18.   Soon after becoming Chief of Police, Chief Clark immediately requested that an

audit be conducted on the Police Department to, among other things, determine the financial status

of the Police Department.

         19.   The audit revealed that there were fraudulent, and unlawful, practices in the Police

Department that had occurred under prior leadership. Specifically, the audit revealed, among other


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things, that the police department was selling ammunition that belonged to the City to civilians,

that the police department was cashing checks made out to the City of Forest Park/Forest Park

Police Department for cash and then were not turning it over to the finance department for proper

documentation, and that some members of the department were doing surveillance on two city

council members.

       20.     Two supplemental audits were conducted which collaborated the initial audit. As

a result of the audit, some individuals in the police department were terminated and some left

voluntarily. The cases were reviewed by the Georgia Bureau of Investigations (“GBI”) and were

subsequently forwarded to the Clayton County prosecutor’s office for possible criminal charges.

       21.     In addition to the financial deficiencies uncovered in the audit requested by Chief

Clark, Chief Clark uncovered other illegal practices within the police department including an

illegal quota system for citations and systemic race and religious discrimination practices including

recruitment disparities and “Give a Christian a Ticket Sunday” which was a practice whereby

police officers would target Black and Hispanic Churches and give citations to members of those

communities.

       22.     In fact, the City’s Hispanic population has dropped by ten (10) percentage points

since 2010, from 37% to 27%, in part due to the police department previously targeting the

Hispanic community and issuing them an unprecedented number of citations.                        See

https://canopyatlanta.org/forest-park/hispanic-communities-police/

       23.     Despite Chief Clark’s uncovering of the illegal quota system for citations, some

members of the Governing Body wanted the police department to continue issuing citations for




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profit. Chief Clark made it clear to the Governing Body that citations would be issued for the

protection of society and not to generate revenue.

       24.     In January 2020, City Manager Angela Redding left her employment with the City.

Chief Clark was assigned as Interim City Manager and Police Chief from on or about January 6,

2020 until on or about May 18, 2020.

       25.     As Interim City Manager, Chief Clark had access to the City’s financial records

and accounts, not just those of the police department.

       26.     Soon after becoming Interim City Manager, Chief Clark identified financial

deficiencies throughout the City, on a much larger scale. Specifically, Chief Clark identified

unlawful commingling of E-911 funds (balancing the budget by using E-911 funds) and charging

SPLOST expenditures to accounts that did not exist.

       27.     After identifying these financial deficiencies, Chief Clark immediately requested

that an audit be conducted on the City’s financial accounts given that it appeared there was

unlawful activity occurring within the City. However, upon information and belief, the City never

conducted an audit on the E-911 or SPLOST accounts.

       28.     In May 2020, Albert Barker was appointed to the position of City Manager.

       29.     On June 30, 2020, Chief Clark received his annual performance review. The review

was very complimentary of Chief Clark’s performance. In that review, Barker wrote that “Chief

Clark identified and addressed an array of structural and systemic issues (i.e. FLSA and Title VII

Violations, Enhanced Recruitment and Disparities, CAD/Record Management System failures).”

Moreover, his review stated that “during his appointment [as Police Chief] the reported crime rate

was decreased significantly in 2019 (8 year low).”


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        30.      On or about July 1, 2020, Chief Clark was promoted to the position of Deputy City

Manager/Public Safety Director while also maintaining his position as Police Chief. See Exhibit

B, Correspondence from Barker regarding Chief Clark’s promotion.

        31.      The position of Deputy City Manager/Public Safety Director was a position that

had been created by the Governing Body and Barker was given discretion to appoint someone to

that position.

        32.      As a Deputy City Manager/Public Safety Director, Chief Clark had full

management responsibility for all public safety services and activities including the police

department and fire department and also had supervisory responsibility over all departments in

coordination with and subject to the direction of the City Manager. The job description specifically

stated that the position would oversee “the hiring, supervision, training, evaluation and discipline

of [the fire and police] department employees.” See Exhibit C, Public Safety Director/Deputy City

Manager job description.

        33.      When Barker appointed Chief Clark to that position, his decision was met with

extreme resistance from some of the Governing Body as they were worried that, as Deputy City

Manager, Chief Clark would continue to uncover fraudulent and unlawful activity as that position

had access to the City’s financial documents.

        34.      In fact, Barker told Chief Clark that the Governing Body in part was going to do all

they could to ensure that the audit he had been requesting would never be conducted and also told

Chief Clark that they would continue to harass and retaliate against him to the point of having his

employment terminated.




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       35.     On September 4, 2020, Chief Clark sent Barker an email that stated the following:

“Recently Finance Director Ken Thompson brought to our attention that in past years SPLOST

expenditures were charged to account(s) that doesn’t exist. Based on the financial inconsistencies

recently brought to our attention, I am recommending that an external audit be conducted

immediately regarding any and all finances.” See Exhibit D, 09.04.2020 Email from Chief Clark

to Barker.

       36.     Chief Clark also identified procedural concerns with the City’s federal asset

forfeiture account and requested that an audit be conducted.

       37.     Upon information and belief, the financial audit that Chief Clark recommended

regarding the federal asset forfeiture account was never conducted. See Exhibit E, 08.27.2021

Email from Chief Clark to Deputy Finance Director Darquita Williams.

       38.     Because Chief Clark was extremely concerned regarding potential fraudulent and

unlawful activity occurring, Chief Clark contacted the United States Department of Justice

(“DOJ”) regarding the City’s federal asset forfeiture account. The DOJ stated that an audit needed

to be conducted immediately.

       39.     Chief Clark also discovered, or was instrumental in bringing to light, other financial

discrepancies including discrepancies with the bank reconciliations (approximately $200,000

worth of discrepancies), discrepancies with the FBI reimbursement, and discrepancies with the

Georgia Emergency Management and Homeland Security Agency (“GEMA”) grant.

       40.     On October 28, 2020, Clark again sent Barker another email requesting that a

financial audit be conducted immediately based upon the DOJ’s recommendation, Finance




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Director Ken Thompson’s admissions, and financial discrepancies previously identified. See

Exhibit F, 10.28.2020 Email from Chief Clark to Barker.

       41.     Barker told Chief Clark that he was getting directives from members of the

Governing Body to stand down immediately on the financial audit.

       42.     In fact, Barker told Chief Clark and others that he had been offered a large sum of

money to stop the financial audits.

       43.     On November 2, 2020, Chief Clark received another stellar performance review

from Barker. In that review, Barker wrote the following: “Chief Clark was appointed Deputy City

Manager/Director of Public Safety on July 1, 2020; he also continues to hold the position of Police

Chief; during this appointment the reported crime rate decreased significantly in 2020 (21-year

low), this speaks volume [sic] of Chief Clark’s dedication in making the community safe for all.”

       44.     Barker also wrote, “Deputy City Manager/Public Safety Director Clark was warned

that he will face backlash referencing the audits (funding discrepancies) and his continual exposure

of biased practices.”

       45.     On November 4, 2020, Chief Clark overheard a City Official make a statement that

he (Chief Clark) takes detailed notes, to retrieve everything that he has been working on as Deputy

City Manager and to “stop him.”

       46.     That same day, on November 4, 2020, Chief Clark was demoted from his position

of Deputy City Manager. Specifically, Chief Clark’s contract was amended so that he would only

serve as Public Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City

Manager in the absence of a City Manager.




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       47.     However, even these duties have been stripped as Chief Clark does not serve as

Deputy City Manager in the City Manager’s absence.

       48.     Chief Clark was demoted due to his uncovering of unlawful and fraudulent activity,

specifically including his uncovering of financial discrepancies, pay disparities, systemic racism,

illegal quotas, and other unlawful and fraudulent activity.

       49.     Chief Clark also experienced a hostile work environment in retaliation for his

uncovering of these unlawful and fraudulent activities. Specifically, Chief Clark was asked to do

things that other department heads were not required to do and his work was scrutinized and

nitpicked.

       50.     Soon after Chief Clark’s report to the DOJ as well as his insistence on a financial

audit in part due to Finance Director’s Ken Thompson’s admissions that SPLOST expenditures

were charged to accounts that did not exist, Thompson resigned his employment with the City and

took with him what appeared to be an extensive amount of confidential and highly sensitive

financial documents belonging to the City.

       51.     Moreover, on or about November 23, 2020, financial documents were removed

from the police department without Chief Clark’s consent.

       52.     In March 2021, Shalonda Brown, Director of Human Resources, filed a formal

complaint alleging sexual harassment by Fire Chief Don Horton. As Public Safety Director, Chief

Clark oversaw the Fire Department and Chief Horton reported to him.

       53.     Chief Clark subsequently put Chief Horton on administrative leave and

recommended that an external investigation be conducted.




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       54.     The investigation—which was ultimately submitted to the City Manager and

Governing Body—confirmed that Chief Horton had been sexually harassing Brown and Chief

Horton was ultimately terminated.

       55.     However, during the investigation and appeal process, Chief Clark was subjected

to continued harassment and verbal attacks by the Governing Body in part and Councilwoman

Wells. Specifically, during public City Council meetings, Councilwoman Wells made comments

regarding Chief Clark’s integrity.

       56.     In fact, during the appeal hearing, Chief Clark was berated for nearly two hours by

Chief Horton. Chief Clark was mandated to appear but was not afforded an opportunity by the

Governing Body to speak or defend himself in front of the community.

       57.     Councilwoman Wells told Chief Clark prior to the sexual harassment allegations

against Chief Horton that Chief Horton had given her $1,000 and that she had not recorded it to

either her ward or to her campaign.

       58.     Chief Clark told Councilwoman Wells twice that the $1,000 Chief Horton had

given her needed to be recorded, however, upon information and belief, it was never recorded.

       59.      Chief Clark has experienced a hostile work environment in retaliation for his

protected activity, namely, his involvement in the investigation into Brown’s sexual harassment

allegations against Chief Horton.

       60.     Specifically, Chief Clark has been verbally attacked and harassed by Wells.

       61.     On or about May 28, 2021, Chief Clark was summoned to City Manager Marc-

Antonie Cooper’s office and accused of having the Deputy Fire Chief, Latasha Clemmons

followed. Ms. Clemmons was hired by Chief Horton.


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       62.     Chief Clark was placed under investigation, but the investigation showed that the

allegations were unfounded.

       63.     Upon information and belief, this was a conspiracy to have Chief Clark terminated.

       64.     Moreover, Chief Clark has been stripped of additional job responsibilities.

       65.     For example, in May 2021, the Fire Chief’s reporting structure was changed so that

the Fire Chief no longer reports to Chief Clark but instead reports directly to the City Manager,

which is inconsistent with his job description and contract signed by the Governing Body.

       66.     Additionally, when the City was recruiting for the position of Fire Chief after Chief

Horton was terminated, despite Chief’s Clark job description stating that he would be responsible

for hiring of the fire department employees, Chief Clark was excluded from screening applicants

or participating on the hiring committee.

       67.     In fact, Chief Clark has been stripped of all authority regarding the fire department.

       68.     Moreover,      at   one   point   Chief   Clark    was    directed   to   cease    all

appointments/promotions at the police department until further notice.

       69.     Chief Clark also has been excluded from meetings regarding police operations.

       70.     Councilwoman Wells also continues to attack Chief Clark’s integrity by

undermining and questioning Chief Clark’s actions with respect to the police department.

       71.     For example, every time a police officer leaves the department, Councilwoman

Wells takes it upon herself to blame them leaving on Chief Clark.

       72.     Councilwoman Wells is constantly asking for data regarding the police department

in an attempt to find something to attack or look for ways to blame Chief Clark.




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       73.     By way of example, in September 2021, Councilwoman Wells wanted Cooper to

reopen an investigation that had concluded nearly a year ago during which a member of the police

department had made claims against Chief Clark, which were investigated, and found to be

unfounded.

       74.     Additionally, Chief Clark is now required to send Cooper reports every morning

detailing data on the police department, upon information and belief, something no other

department head is required to do.

       75.     Moreover, Councilwoman Wells wanted to see a copy of every exit interview and

every grievance filed against Chief Clark in an attempt to demean Chief Clark and punish him for

participating in the sexual harassment investigation into Chief Horton.

       76.     On or about September 12, 2021, Cooper received an email from an anonymous

individual(s), specifically “Concerned Citizens of Forest Park,” that stated that Councilwoman

Wells and her husband had physically assaulted a citizen. A criminal investigation was opened.

       77.     Soon thereafter, Chief Clark received information that the investigation appeared

to have been compromised as Councilwoman Wells had received confidential information from

someone at the police department regarding details of the investigation.

       78.     In fact, on September 22, 2021, Councilwoman Wells posted a lengthy video (14.5

minutes) to Facebook in which she appears to reference paperwork she was receiving from a

member of the police department regarding the investigation. Councilwoman Wells compromised

the integrity of the police department which is a violation of her duties as a City Council member.




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       79.     In that same Facebook video, which to date has received 49 comments and 364

views, Councilwoman Wells made several false statements about Chief Clark with the specific

intent to do harm.

       80.     Specifically, among other things, Councilwoman Wells accused Chief Clark of

conducting an “illegal” investigation against her, one that was “not investigatable.”

       81.     Additionally, the Facebook video said of Chief Clark, “There’s political activists,

but you ain’t got time to come to the meeting and address the people concerned or you don’t have

time to explain to us why all of these officers are leaving under your leadership. But you got time

to appoint someone to investigate me. That’s a problem.”

       82.     Moreover, the Facebook video said, “So Chief Clark….go back to Arkansas

because we don’t need these issues as far as well, we got rid of it. You know we got rid of it. Now

you want to try and sue the City because you’re afraid of your job. Well if you did your job, you

wouldn’t have to worry about it…”

       83.     In other words, Councilwoman Wells was compromising the integrity and

credibility of the police department, and more specifically, Chief Clark.

       84.     This video caused considerable disruption to the order and morale of the police

department and caused several subordinates to question Chief Clark’s leadership.

       85.     The video also harmed Chief Clark’s reputation both internally and externally with

the general public.

       86.     The video was so controversial that on January 4, 2022 another Councilwoman,

Kimberly James, filed an ethics complaint against Councilwoman Wells alleging, among other

things that the Facebook video was “false, misleading, unethical, without merit, humiliating and


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defaming the character of staff and elected officials.” The ethics complaint further stated, “[t]he

information caused the public, which includes staff in every department including police, as well

as residents, non-residents, business owners and potential business owners to question the integrity

of everyone personally named in the outrageous video.” See Exhibit G, Ethics Board Complaint

Form which includes a transcript of the Facebook posting.

       87.     A hearing was held on Councilwoman James’ ethics complaint on February 3, 2022

during which Councilwoman James, Councilwoman Wells and various other individuals testified

under oath. The hearing officer Gregory D. Jay, Esq. also attended the hearing.

       88.     On February 15, 2022, Mr. Jay issued a written “Hearing Officer Report and

Recommendation.” In that written report, Mr. Jay wrote that although the Facebook account was

private, Councilwoman Wells was “commenting on matters directly related to Forest Park and its

governance including employees and fellow elected officials.” He further stated that, “Taken in

its totality, the scope and remarks of the Facebook tirade seem to run afoul of the dictates of the

Code of Ethics and the Ethics Ordinance. . . Derogatory remarks and accusations leveled at staff

such as ordering an investigation of an elected official severely undermine staff’s authority and

hinders the day-to-day operations of the City. These remarks also fuel inuendo amongst other

employees and the community at-large. Moreover, these types of accusations when made to the

public only work to harm the City’s reputation and ability to attract quality personnel. . . Elected

officials may zealously advocate for their position, however such advocacy should not be personal

in nature and should be civil and grounded in fact.” The report recommended that the City Council

issue a censure or reprimand.




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       89.     On or about March 7, 2022, Councilwoman Wells was “formally censured for her

unacceptable and inexcusable behavior” and was “called upon to cease the afore-mentioned

behavior and to conduct herself in a manner fitting the office of City Council Member.”

       90.     Although it appeared that at least one high-ranking City official was aware that

Councilwoman Wells had received details regarding the confidential investigation improperly, and

had known for some time, no action was taken to investigate.

       91.     On October 7, 2021, Chief Clark sent Cooper an email requesting an external

investigation (to avoid the appearance of impropriety) as it had appeared that someone at the police

department has been leaking information to Councilwoman Wells while there was an open

investigation pending.

       92.     Upon information and belief, no action has been taken to investigate Chief Clark’s

concerns.

       93.     Chief Clark has repeatedly complained to his City Managers, members of the

Governing Body, the City’s in-house attorney and the City’s outside attorney regarding the

retaliation he is experiencing.

       94.     Several City officials, including Cooper, have admitted and acknowledged the

retaliation Chief Clark is experiencing but have done nothing to stop it.

       95.     Chief Clark was told by a City official that the City is attempting to dissolve the

position of Public Safety Director, decrease his salary, and eventually terminate his employment

based on his involvement in the sexual harassment investigation of Chief Horton.




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                            COUNT I
                     RETALIATION UNDER THE
     GEORGIA WHISTLEBLOWER PROTECTION ACT, O.C.G.A. § 45-1-4 et seq.
               (DEFENDANT CITY OF FOREST PARK, GA)

       96.     Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

       97.     At all times relevant to this action, Chief Clark was a “public employee” for

purposes of the Georgia Whistleblower Protection Act, O.C.G.A. § 45-1-4.

       98.     Defendant City of Forest Park, GA is a “public employer” as defined in O.C.G.A.

§ 45-1-4.

       99.     Pursuant to O.C.G.A. § 45-1-4, it is unlawful for a public employer to retaliate

against a public employee “in the terms or conditions of employment for disclosing a violation of

or noncompliance with a law, rule, or regulation to either a supervisor or government agency.”

       100.    On November 4, 2020, Chief Clark demoted from his position of Deputy City

Manager. Specifically, Chief Clark’s contract was amended so that he would only serve as Public

Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager.

       101.    However, even these duties have been stripped as Chief Clark does not serve as

Deputy City Manager in the City Manager’s absence.

       102.    Chief Clark was demoted due to his uncovering of unlawful and fraudulent activity,

specifically including his uncovering of financial discrepancies, pay disparities, systemic racism,

illegal quotas, and other unlawful and fraudulent activity.

       103.    Chief Clark also experienced a hostile work environment in retaliation for his

uncovering of these unlawful and fraudulent activities. Specifically, Chief Clark was asked to do



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things that other department heads were not required to do and his work continues to be scrutinized

and nitpicked.

         104.    These adverse employment actions were in retaliation for Chief Clark’s disclosing

violations or noncompliance with laws, rules or regulations in violation of the Georgia

Whistleblower Protection Act, O.C.G.A. § 45-1-4 et seq.

         105.    These adverse employment actions have caused Chief Clark to suffer damages in

the form of loss of future earning capacity in that his credentials as Police Chief, Public Safety

Director and Deputy City Manager and reputation have been besmirched. Additionally, Chief

Clark has suffered lost benefits of employment, emotional distress, mental anguish, humiliation,

and pain and suffering.

                                     COUNT II
                        RETALIATION UNDER TITLE VII OF THE
                    CIVIL RIGHTS ACT OF 1964, 42 U.S.C. § 2000e et seq.
                       (DEFENDANT CITY OF FOREST PARK, GA)

         106.    Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

         107.    At all relevant times, Plaintiff was an “employee” of the City as that term is defined

by Title VII.

         108.    At all relevant times, the City was an “employer” as that term is defined by Title

VII.

         109.    In June/July 2019, Chief Clark uncovered and reported illegal practices within the

police department including an illegal quota system for citations and systemic race and religious

discrimination practices including recruitment disparities and “Give a Christian a Ticket Sunday”

which was a practice whereby police officers would target Black and Hispanic Churches and give

citations to members of those communities.

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        110.    Despite Chief Clark’s uncovering of the illegal quota system for citations, some

members of the Governing Body wanted the police department to continue issuing citations for

profit. Chief Clark made it clear to the Governing Body that citations would be issued for the

protection of society and not to generate revenue.

        111.    On November 4, 2020, Chief Clark demoted from his position of Deputy City

Manager. Specifically, Chief Clark’s contract was amended so that he would only serve as Public

Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager.

        112.    However, even these duties have been stripped as Chief Clark does not serve as

Deputy City Manager in the City Manager’s absence.

        113.    In March 2021, Chief Clark engaged in further protected activity. Specifically, as

part of his responsibilities as Public Safety Director, he participated in an internal investigation of

sexual harassment allegations against Fire Chief Don Horton.

        114.    Since March 2021, Chief Clark has been stripped of additional job responsibilities

including his responsibilities as Public Safety Director as the Fire Chief no longer reports to him

but instead reports to the City Manager. Chief Clark’s authority at the fire department is now

limited to approving bills.

        115.    Moreover, Chief Clark has experienced a hostile work environment in retaliation

for his involvement in the investigation into Brown’s sexual harassment allegations against Chief

Horton.

        116.    The City engaged in retaliatory practices intentionally and/or with malice and/or

reckless indifference to Plaintiff’s rights.


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         117.   These adverse employment actions have caused Chief Clark to suffer damages in

the form of loss of future earning capacity in that his credentials as Police Chief, Public Safety

Director and Deputy City Manager and reputation have been besmirched. Additionally, Chief

Clark has suffered lost benefits of employment, emotional distress, mental anguish, humiliation,

and pain and suffering.

                                  COUNT III
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                     UNDER THE COMMON LAW OF GEORGIA
                             (DEFENDANT WELLS)

         118.   Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

         119.   As a direct and proximate cause of Councilwoman Wells’ actions, Chief Clark has

suffered damages in an amount to be proven at trial.

         120.   Councilwoman     Wells’    actions   demonstrate   willful   misconduct,   malice,

wantonness, oppression and want of caring raising the presumption of conscious indifference to

the consequences of her actions, entitling Plaintiff to punitive damages under O.C.G.A. § 51-12-

5.1.

         121.   Chief Clark has suffered extreme emotional distress as a result of the actions of

Councilwoman Wells as his reputation—something a Police Chief relies heavily on and cannot

function without—has been tarnished in the police department, the City, and the community.

                                    COUNT IV
                    SLANDER PER SE PURSUANT TO O.C.G.A. § 51-5-4
                              (DEFENDANT WELLS)

         122.   Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

         123.   Councilwoman Wells’ Facebook post on September 22, 2021 contained numerous

false and defamatory remarks regarding Chief Clark and imputed to him a crime punishable by

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law—specifically an alleged illegal investigation into Councilwoman Wells—and made charges

against Chief Clark in reference to his trade, office, or profession calculated to injure him in

violation of O.C.G.A. §§ 51-5-4(a)(1) and (3).

         124.   In this video, Councilwoman Wells compromised the integrity and credibility of

the police department, and more specifically, Chief Clark.

         125.   This video caused considerable disruption to the order and morale of the police

department and caused several subordinates to question Chief Clark’s leadership.

         126.   These statements have negatively impacted Chief Clark’s reputation both internally

in the City and police department and externally in the community in which he works.

         127.   Councilwoman Wells made these statements maliciously and with the specific

intent to do harm to Chief Clark and to punish him for exposing a hostile work environment and

for questionable and illegal acts.

         128.   Councilwoman         Wells’   actions   demonstrate   willful   misconduct,   malice,

wantonness, oppression and want of caring raising the presumption of conscious indifference to

the consequences of her actions, entitling Plaintiff to punitive damages under O.C.G.A. § 51-12-

5.1.

         WHEREFORE, the Plaintiff demands that a trial by jury be had on all Counts of his

Complaint and that the following such judgment be entered on his behalf against Defendants

granting the following relief:

   (a) that Defendants be Ordered to make Plaintiff whole by providing for his out-of-pocket

         losses including any back pay in an amount equal to the sum of any wages, salary,

         employment benefits or other compensation denied or lost as a result of Defendants’


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   unlawful and discriminatory acts, together with interest thereon, all in amounts to be

   determined at the trial;

(b) that front pay be awarded as the employment relationship has been so severely damaged

   that the relationship is unsalvageable;

(c) that compensatory damages be awarded against each Defendant individually to compensate

   Plaintiff for his mental and emotional distress, anxiety, humiliation, outrage, and loss of

   professional and personal reputation as a consequence of Defendants’ actions in an amount

   to be determined at the trial;

(d) that punitive damages be awarded against Defendants in an amount to be determined at

   trial to deter Defendants and others from similar misconduct in the future;

(e) that Plaintiff be granted attorney’s fees and expenses of litigation pursuant to O.C.G.A. §§

   45-1-4(f) and 13-6-11;

(f) appropriate declaratory and injunctive relief;

(g) that pre-judgment and post-judgment interest be awarded; and

(h) that Plaintiff be granted such other and further additional relief as the jury deems equitable

   and just.

   Respectfully submitted, this 15th day of June, 2022.

                                             s/ Jackie Lee
                                             Jackie Lee
                                             Georgia Bar No. 419196
                                             jackie@leelawga.com
                                             LEE LAW FIRM, LLC
                                             1100 Peachtree Street NE, Suite 250
                                             Atlanta, Georgia 30309
                                             Telephone: (404) 301-8973

                                             COUNSEL FOR PLAINTIFF

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                                                                CLAYTON    COUNTY, GA
                                                                6/15/2022 3:57 PM
                                                                Jacquline D. Wills
                                                                CLERK SUPERIOR COURT
                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                               )
                                                )
                PLAINTIFF,                      )
                                                )
                                                )
 V.                                             )
                                                )
                                                )    Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                    )
 individual capacity                            )
                                                )
                                                )
                DEFENDANTS.                     )

                                 CERTIFICATE OF SERVICE

        I certify that on June 15, 2022 I electronically filed the foregoing Plaintiff’s Second

Amended Complaint with the Clerk of Court which will automatically send notification of such

filing to all counsel of record and by e-mail to the following counsel of record:

                                       Michael M. Hill
                                     Shaheem M. Williams
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                                 Peachtree Corners, GA 30092
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                                               s/ Jackie Lee
                                               Jackie Lee
                                               Georgia Bar No. 419196




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             Exhibit A
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                                                  U.S. Department of Justice
                                                  Civil Rights Division
                                                              NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                     150 M Street, N.E.
                                                              Karen Ferguson , EMP, 4CON, Room 9.514
                                                              Washington, DC 20530

                                                              May 24, 2022

Mr. Nathaniel Clark
c/o Jackie Lee, Esquire
Lee Law Firm
1100 Peachtree St., NE
Suite 250
Atlanta, GA 30309

Re: EEOC Charge Against City of Forest Park
No. 410202103955

Dear Mr. Clark:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
   The investigative file pertaining to your case is located in the EEOC Atlanta District Office,
Atlanta, GA.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,

                                                       Kristen Clarke
                                                  Assistant Attorney General
                                                    Civil Rights Division

                                                 by     /s/ Karen L. Ferguson
                                                      Karen L. Ferguson
                                                 Supervisory Civil Rights Analyst
                                                 Employment Litigation Section


cc: Atlanta District Office, EEOC
  City of Forest Park
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              Exhibit B
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              Exhibit C
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             Exhibit D
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              Exhibit F
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             Exhibit G
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